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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.       CV 19-8580-JFW(MAAx)                                        Date: November 29, 2021

Title:         Bryant Patton -v- Midwest Construction Services, Inc., et al.

PRESENT:
               HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

               Shannon Reilly                                 None Present
               Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (In Chambers): ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL
                           APPROVAL OF CLASS ACTION AND PAGA SETTLEMENT
                           [filed 11/8/2021; Docket No. 82];

                                     ORDER GRANTING PLAINTIFF’S MOTION FOR
                                     ATTORNEYS’ FEES, COSTS, AND ENHANCEMENT AWARD
                                     [filed 11/8/2021; Docket No. 83]

        On November 8, 2021, Plaintiff Bryant Patton (“Plaintiff”) filed a Motion for Final Approval of
Class Action and PAGA Settlement and a Motion for Attorneys’ Fees, Costs, and Enhancement
Award. On November 15, 2021, Defendant Midwest Construction Services, Inc. dba Trillium Driver
Solutions (“Defendant”) filed Notices of Non-Opposition. Pursuant to Rule 78 of the Federal Rules
of Civil Procedure and Local Rule 7-15, the Court finds that these matters are appropriate for
decision without oral argument. The hearing calendared for December 6, 2021 is hereby vacated
and the matters are taken off calendar. After considering the moving papers, and the arguments
therein, the Court rules as follows:

       For the reasons stated in Plaintiff’s moving papers, and because the Court finds that the
settlement is fair, adequate, and reasonable, Plaintiff’s Motion for Final Approval of Class Action
and PAGA Settlement is GRANTED. The Court signs the Joint Proposed Statement of Decision
Granting Unopposed Motion for Final Approval of Class Action and PAGA Settlement, lodged with
the Court on November 23, 2021 (Docket No. 86-1).

        For the reasons stated in Plaintiff’s moving papers, and because the Court concludes that
the requested attorneys’ fees, litigation expenses, and enhancement award are reasonable,
Plaintiff’s Motion for Attorneys’ Fees, Costs, and Enhancement Award is GRANTED. The Court
signs the Joint Proposed Statement of Decision Granting Unopposed Motion for Attorneys’ Fees,
Costs, and Enhancement Award, lodged with the Court on November 23, 2021 (Docket No. 87-1).

         The parties shall file a Joint Proposed Final Judgment on or before December 6, 2021.

         IT IS SO ORDERED.

                                                                                 Initials of Deputy Clerk sr
